405 F.2d 499
    Albert E. LEUTHOLD, Superintendent of Banks, State of Montana, Helena, Montana, Security Bank, and Miners Bank of Montana, N. A., Appellants,v.William B. CAMP, Comptroller of the Currency, Appellee,The First National Bank of Butte and Daly National Bank of Anaconda, Appellee-Intervenors.
    No. 22202.
    United States Court of Appeals Ninth Circuit.
    January 21, 1969.
    
      Appeal from the United States District Court for the District of Montana; Russell E. Smith, Judge.
    
    
      1
      John M. Schiltz (argued), of Hutton, Schiltz &amp; Sheehy, Billings, Mont., Donald A. Garrity, Asst. Atty. Gen., Helena, Mont., Weber, Bosch &amp; Kuhr, Havre, Mont., for appellant.
    
    
      2
      Alan S. Rosenthal, Washington, D. C. (argued), Edwin L. Weisl, Jr., Asst. Atty. Gen., Stephen R. Felson, Washington, D. C., Moody Brickett, U. S. Atty., Butte, Mont., for appellee.
    
    
      3
      John D. French (argued), of Faegre &amp; Benson, Minneapolis, Minn., McKeon &amp; Brolin, Anaconda, Mont., Johnson &amp; Johnson, Butte, Mont., for intervenors.
    
    
      4
      Horace R. Hansen, of Hansen, Hazen, Dordell &amp; Bradt, St. Paul, Minn., amicus curiae.
    
    
      5
      Reavis, Pogue, Neal &amp; Rose, Washington, D. C., amicus curiæ.
    
    
      6
      Before HAMLEY and CARTER, Circuit Judges, and FOLEY, District Judge*.
    
    PER CURIAM:
    
      7
      On August 28, 1967, Judge Russell E. Smith, of the District of Montana, filed his Opinion and Order in Leuthold et al. v. Camp, 273 F.Supp. 695.
    
    
      8
      On the basis of the Opinion and Order of the District Judge and the case of Neusse v. Camp, 128 U.S.App.D.C. 172, 385 F.2d 694, decided October 4, 1967,1 the judgment is affirmed.
    
    
      
        Notes:
      
      
        *
         Honorable Roger D. Foley, District of Nevada, sitting by designation
      
      
        1
         On the question of the State Superintendent of Bank's standing to sue, we note and approve the following language from Nuesse v. Camp. At page 700 of 385 F.2d, the Court stated:
        "We should not be nigardly in guaging the interest of a state administrative officer in the validity of what his federal counterpart has done in an area of overlapping fact and intertwined law. We not only have the greater impetus to intervention that inheres in administrative cases, but in addition the `interest' of the state commissioner is underlined by the circumstance that the regulation of national banking is an area in which Congress, in the exercise of delegated federal power, has for various policy reasons decided to adopt and incorporate state law on issues of common concern. This admixture of national and state policies, attaching national legal force to the state policy, yields the corollary that a state official directly concerned in effectuating the state policy has an `interest' in a legal controversy involving the Comptroller which concerns the nature and protection of the state policy."
      
    
    